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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

WELLS FARGO BANK, N.A., AS                     §
TRUSTEE FOR THE REGISTERED                     §
HOLDERS OF CREDIT SUISSE FIRST                 §
BOSTON MORTGAGE SECURITIES                     §
CORP., COMMERCIAL MORTGAGE                     §
PASS-THROUGH CERTIFICATES,                     §
SERIES 2006-C5,                                §
                                               §         CIVIL ACTION NO. 4:13-CV-00157
        Plaintiff,                             §
                                               §
v.                                             §
                                               §
ALLIANCE PP2 FX4 LIMITED                       §
PARTNERSHIP,                                   §
                                               §
        Defendant.                             §

     RECEIVER’S SECOND REPORT AND SECOND APPLICATION FOR PAYMENT

        COMES NOW Kenneth Polsinelli, Receiver (“Receiver”) in the above styled and

numbered cause and, pursuant to the Agreed Order Appointing Receiver signed by the Court on

January 23, 2013 (“Receivership Order”), files this Second Report and Second Application for

Payment.

                          I.     RECEIVER’S SECOND REPORT

        1.     Pursuant to Receivership Order, Receiver submits to the Court this Second Report

for the Real Properties listed in the Receivership Order. This Second Report pertains to the Real

Properties comprising the receivership as of March 31, 2013 as more fully set forth on the

Receivership Summary which is attached as Exhibit “A”, the March consolidated management

report which is attached as Exhibit “B” and the individual March reports for each of the Real

Properties which are attached as Exhibits C – V.




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                     II.      SECOND APPLICATION FOR PAYMENT

       1.      Pursuant to the Receivership Order, Receiver submits this Second Application for

Payment of Receiver and his retained professionals.

               A.      Receiver - $15,000.00 per month;

               B.     Blackwell, Blackburn & Stephenson, L.L.P. – $3,134.50 in attorneys’ fees
               and legal expenses, as set forth on Exhibit “W”, which is attached hereto and
               incorporated herein by reference.

       2.      In accordance with and as authorized by the Receivership Order, Receiver hereby

submits the invoice for legal services that appears in Exhibit “W” attached hereto. In accordance

with the Receivership Order, unless a party files a written motion objecting to the payment of a

periodic invoice for professional services within ten (10) calendar days of receipt of the invoice,

Receiver shall be authorized to pay the invoice from the assets held in receivership without

further order of the Court.

                                          Respectfully submitted,

                                          BLACKWELL, BLACKBURN & STEPHENSON, LLP

                                          //s// Robert Blackwell
                                          Robert Blackwell
                                          Texas Bar No. 24001744
                                          7557 Rambler Road, Suite 1400
                                          Dallas, TX 75231
                                          Telephone: (214) 442-9602
                                          Facsimile: (214) 442-9621
                                          ATTORNEY FOR RECEIVER


                                CERTIFICATE OF SERVICE

         On June 3, 2013, a copy of the foregoing document was served electronically through

 the Court’s ECF system on Plaintiff and Defendant through their respective counsel of record.

                                           //s// Robert Blackwell
                                           Robert Blackwell



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